18-08245-rdd             Doc 22          Filed 10/04/18            Entered 10/04/18 13:40:29                        Main Document
                                                                  Pg 1 of 6


GIBBONS P.C.
One Gateway Center
Newark, New Jersey 07102-5310
Philip J. Duffy, Esq.
Telephone: (973) 596-4821
Facsimile: (973) 639-6219
E-mail: Pduffy@gibbonslaw.com
David N. Crapo, Esq.
Telephone: (973) 596-4523
Facsimile: (973) 639-6244
E-mail: Dcrapo@gibbonslaw.com

Special Counsel for the Plaintiff,
The Great Atlantic & Pacific Tea Company, Inc., et al.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:

THE GREAT ATLANTIC & PACIFIC TEA                                                 Chapter 11
COMPANY, INC., et al.,1
                                                                                 Case No. 15-23007 (RDD)
                                 Debtors.
                                                                                 (Jointly Administered)
THE GREAT ATLANTIC & PACIFIC TEA
COMPANY, INC. et al.

                                 Plaintiff,

           v.
                                                                                   Adv. Proc. No. 18-08245 (RDD)
PEPSICO, INC; BOTTLING GROUP, LLC (d/b/a
PEPSI BEVERAGES COMPANY and f/d/b/a THE
PEPSI BOTTLING GROUP); FRITO-LAY
NORTH AMERICA, INC.; QUAKER SALES
AND DISTRIBUTION, INC.; MULLER
QUAKER DAIRY, LLC; STACY’S PITA CHIP

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: 2008
Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P Live Better, LLC (0799); A&P Real Property, LLC (0973);
APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090); Food
Basics, Inc. (1210); Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para Holdings, Inc.
(2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell, Inc.(3304); Super Fresh Food Markets, Inc. (2491);
The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599). The international
subsidiaries of The Great Atlantic & Pacific Tea Company, Inc. are not debtors in these chapter 11 cases. The location of the Debtors’ corporate
headquarters is 19 Spear Road, Suite 310, Ramsey, New Jersey 07446.




                                                                                                                      2630709.1 032596-97802
18-08245-rdd         Doc 22      Filed 10/04/18       Entered 10/04/18 13:40:29               Main Document
                                                     Pg 2 of 6


COMPANY, INC.; PEPSI BOTTLING GROUP
NJ; and PEPSI USA,

                          Defendants.


             JOINT REPORT OF PARTIES’ RULE 26(f) PLANNING MEETING

        Pursuant to Federal Rule of Civil Procedure 26, Plaintiff The Great Atlantic & Pacific Tea

Company, Inc. (“GAPT”) and Defendants, PepsiCo, Inc.; Frito-Lay North America, Inc.

(“Frito-Lay”); Bottling Group, LLC (d/b/a Pepsi Beverages Company and f/d/b/a The Pepsi

Bottling Group) (“Bottling Group”); Quaker Sales and Distribution, Inc.; Muller Quaker Dairy,

LLC; and Stacy’s Pita Chip Company, Inc. (collectively, “Defendants”),2 submit the following

report of the conference held via telephone on September 20, 2018.

I.      DISCOVERY PLAN

        A.       What changes should be made in the timing, form, or requirement for
                 disclosures under Rule 26(a), including a statement of when initial disclosures
                 were made or will be made

        The parties will exchange the disclosures required by Rule 26(a) on the date indicated in

the proposed schedule below.

        B.       The subjects on which discovery may be needed, when discovery should be
                 completed, and whether discovery should be conducted in phases or be limited
                 to or focused on particular issues

        The Parties propose the discovery deadlines and schedule indicated in the table below. The

Parties presently contemplate that discovery will be needed on the following subjects:

                 •    The timing and application of GAPT’s payments to the Defendants.


2
  Based on the evidence currently available, Pepsi Bottling Group, NJ and Pepsi USA are not independent corporate
entities. Based on evidence currently available, GAPT believes that they are divisions of or trade names used by
Defendant Bottling Group. However, the entities identified above as the Defendants have been unable to determine
whether any references to either Pepsi Bottling Group, NJ or Pepsi USA actually refer to actions or operations of any
of the other named Defendants. To the extent that Pepsi Bottling Group, NJ or Pepsi USA are determined to be entities
related to or part of the Defendants, they shall be incorporated into the defined term, “Defendants.”


                                                         2
                                                                                               2630709.1 032596-97802
18-08245-rdd       Doc 22   Filed 10/04/18    Entered 10/04/18 13:40:29       Main Document
                                             Pg 3 of 6


               •    The timing and application of the Defendants’ payments to GAPT.

               •    GAPT’s insolvency at the time of the payments it made to the Defendants Frito
                    Lay and Bottling Group between April 20, 2015 and July 19, 2015 (“Preference
                    Period”).

               •    Whether their receipt of some or all of the payments made by GAPT during the
                    Preference Period enabled Frito Lay and Bottling Group to receive a greater
                    distribution than they would have received in the hypothetical liquidation of
                    GAPT’s assets contemplated by 11 U.S.C. § 547(b)(5) .

               •    The ordinary business and payment terms for transactions between GAPT and
                    the Defendants prior to the Preference Period.

               •    The ordinary business and payment terms between parties like GAPT and the
                    Defendants prevailing in the relevant industry and markets during the
                    Preference Period.

               •    Communications between GAPT and the Defendants concerning payment and
                    credit terms during the Preference Period.

               •    The value of any products Defendants Frito Lay and Bottling Group delivered
                    to GAPT during the Preference Period.

               •    The timing of the delivery of products by Defendants Frito Lay and Bottling
                    Group to GAPT during the Preference Period.

               •    The extent to which Defendants Frito Lay and Bottling Group were not paid for
                    goods delivered to GAPT during the Preference Period.

               •    The existence and terms of any written contracts or agreements governing
                    promotional transactions between A&P and the Defendants that any of GAPT
                    or the Defendants (hereafter, collectively, “Promotional Transactions”)
                    contend were in effect during any portion of the period between December 13,
                    2010 and November 25, 2015.

               •    The actual course of dealing between GAPT and the Defendants with respect to
                    Promotional Transactions occurring after December 13, 2010, including the
                    details of the Promotional Transactions and any documents other than written
                    contracts or agreements, but including communications between GAPT and the
                    Defendants that described, evidenced or memorialized that course of dealing.

               •    The amount GAPT invoiced the Defendants for services provided pursuant to
                    Promotional Transactions and the amount the Defendants paid GAPT for those
                    services.


                                                3
                                                                               2630709.1 032596-97802
18-08245-rdd       Doc 22   Filed 10/04/18     Entered 10/04/18 13:40:29         Main Document
                                              Pg 4 of 6


               •    GAPT’s performance of services pursuant to the Promotional Transactions.

               •    Any other actions of GAPT that give rise to a right of payment asserted by
                    GAPT in its Complaint.

               •    Addresses from which goods were shipped by Defendants Frito Lay and
                    Bottling Group to GAPT.

               •    The factual bases upon which GAPT relied to list Pepsi Bottling Group NJ as a
                    defendant.

               •    The factual bases upon which GAPT relied to list Pepsi USA as a defendant.

               •    Party Depositions.

               •    Non-Party Depositions

               •    Expert Depositions

               •    Any other issues raised by the Defendants in any defenses or counterclaims.

       C.      Any issues about disclosure, discovery, or preservation of electronically stored
               information, including the form or forms in which it should be produced

       Notwithstanding the potential volume of documents to be produced by the GAPT and the

Defendants, we do not believe, at this juncture, that such volume (or lack thereof) will justify the

added expense of utilizing a document review system. To that end, GAPT and the Defendants

expect to produce documents in PDF/DOC format via CD, DVD, Flash Drive, etc., which will be

fully searchable and bates stamped. In the event that discovery reaches a level of production that

would justify the employment of a full suite document review system, GAPT and the Defendants

are amenable to re-evaluating when/if such issue arises.

       The parties acknowledge that they all have access to Demandtec and will not seek to

require the parties to produce documents located on Demandtec, but will only have to provide the

identity of those documents and their location on Demandtec.




                                                 4
                                                                                 2630709.1 032596-97802
18-08245-rdd      Doc 22     Filed 10/04/18     Entered 10/04/18 13:40:29          Main Document
                                               Pg 5 of 6


        D.      Any issues about claims of privilege or of protection as trial-preparation
                materials, including—if the parties agree on a procedure to assert these claims
                after production—whether to ask the court to include their agreement in an
                order under Federal Rule of Evidence 502

        GAPT and the Defendants contemplate, to the extent warranted during discovery,

submitting an agreed protective order for entry by the Court that addresses the designation of

confidential information as well as privilege issues.

        E.      What changes should be made in the limitations on discovery imposed under
                these rules or by local rule, and what other limitations should be imposed

        In light of the number of defendants, it is contemplated that the parties will need to

propound more than twenty-five interrogatories. The parties, therefore, agree that each

side—Plaintiff and Defendants—may propound a total of 150 interrogatories on the other side.

The parties further agree that, to the extent that fifty or more interrogatories are propounded in a set

of interrogatories, the party on which the interrogatories are propounded will have sixty days in

which to answer that set of interrogatories.

        No others anticipated at this time.

        F.      Any other orders that the court should issue under Rule 26(c) or under Rule
                16(b) and (c)

        None anticipated at this time.

II.     PROPOSED DISCOVERY SCHEDULE

  Deadline                                 Event

  October 11, 2018                         Initial status conference

  October 4, 2018                          Initial disclosures exchanged

  October 4, 2018                          Rule 26(f) Report and Proposed Discovery Schedule
                                           Submitted to the Bankruptcy Court

  December 12, 2018                        Initial Document Demands/Interrogatories

  December 21, 2018                        Joinder of Parties/Amendment of Pleadings


                                                   5
                                                                                    2630709.1 032596-97802
18-08245-rdd   Doc 22    Filed 10/04/18      Entered 10/04/18 13:40:29          Main Document
                                            Pg 6 of 6


  August 15, 2019                    Fact discovery closes

  August 15, 2019                    Affirmative expert reports due

  September 13, 2019                 Rebuttal expert reports due

  September 30, 2019                 Expert Depositions

  October 15, 2019                   All Discovery Completed

  November ___, 2019                 Final Pre-Trial Conference


Date: October 4, 2018

THE GREAT ATLANTIC & PACIFIC TEA                  PEPSICO, INC; BOTTLING GROUP, LLC (d/b/a
COMPANY, INC., et al.,                            PEPSI BEVERAGES COMPANY and f/d/b/a THE
                                                  PEPSI BOTTLING GROUP); FRITO-LAY NORTH
By: /s/ David N. Crapo                            AMERICA, INC.; QUAKER SALES AND
Philip J. Duffy, Esq.                             DISTRIBUTION, INC.; MULLER QUAKER DAIRY,
Telephone: (973) 596-4821                         LLC; AND STACY’S PITA CHIP COMPANY, INC.,
Facsimile: (973) 639-6219
E-mail: pduffy@gibbonslaw.com                     By: /s/ Jeffrey Chubak
David N. Crapo, Esq.                              Jeffrey Chubak
Telephone: (973) 596-4523                         STORCH AMINI PC
Facsimile: (973) 639-6244                         140 East 45th Street, 25th Floor
E-mail: dcrapo@gibbonslaw.com                     New York, New York 10017
GIBBONS P.C.                                      (212) 490-4100
One Gateway Center                                jchubak@storchamini.com
Newark, New Jersey 07102-5310
                                                  - and -
Special Counsel for the Plaintiff,
The Great Atlantic & Pacific Tea Company,         Joseph D. Frank (admitted pro hac vice)
Inc., et al.                                      Jeremy C. Kleinman (admitted pro hac vice)
                                                  FRANKGECKER LLP
                                                  325 North LaSalle Street, Suite 625
                                                  (312) 276-1400
                                                  jfrank@fgllp.com
                                                  jkleinman@fgllp.com

                                                  Attorneys for Defendants




                                              6
                                                                                2630709.1 032596-97802
